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       EXHIBIT B
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    MAOC-409000
    Broadband Voltage Controlled Oscillator
    6 - 12 GHz                                                                                                                                        Preliminary - Rev. V3P

    Features                                                                                          Block Diagram
        Octave Tuning Bandwidth
        Phase Noise: -95 dBc/Hz @ 100 kHz
        VTUNE Range: 0 - 23 V
        Low Current Consumption: 58 mA
        Excellent Temperature Stability
        +5 V Bias Supply
        Lead-Free 4 mm 24-Lead Package
        RoHS* Compliant and 260°C Reflow Compatible

    Description
    The MAOC-409000 is a wideband voltage controlled




                                                                                                                                                                                    Preliminary Information
    oscillator operating in the 6 - 12 GHz range. The
    VCO has flat output power and very low phase noise
    over its operating conditions. A single +5V bias
    voltage is required, and a tuning voltage of 0 - 23 V.
    The device is fully matched and no external
    matching components are required.
                                                                                                      Pin Configuration2
    The MAOC-409000 has very low phase noise, stable
    output power over temperature and excellent tuning                                                        Pin              Function                 Pin           Function
    control, making it ideal for applications such as
                                                                                                                1                 GND                    13            GND
    communications systems, test and measurement
    and wideband defense applications.                                                                          2                 GND                    14            GND
                                                                                                                3                 GND                    15             RF
    The 4 mm package has a lead-free finish that is
    RoHS compliant and compatible with a 260ºC reflow                                                           4                 VTUNE                  16            GND
    temperature. The package features low lead                                                                  5                 GND                    17            GND
    inductance and an excellent thermal path.
                                                                                                                6                 GND                    18            GND
                                                                                                                7                  N/C                   19             N/C
                                               1
    Ordering Information                                                                                        8                 GND                    20            GND
                                                                                                                9                 GND                    21            GND
                                                                                                               10                 GND                    22            GND
        MAOC-409000-000PPR                                      bulk
                                                                                                               11                 GND                    23            GND
        MAOC-409000-SMBPPR                               Sample Board                                          12                  VCC                   24             N/C
    1. Reference Application Note M513 for reel size information.                                                                                             3
                                                                                                                                                         25            GND

                                                                                                      2. MACOM recommends connecting unused package pins to
                                                                                                         ground.
                                                                                                      3. The exposed pad centered on the package bottom must be
                                                                                                         connected to RF, DC and thermal ground.




     * Restrictions on Hazardous Substances, European Union Directive 2011/65/EU.


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    MAOC-409000
    Broadband Voltage Controlled Oscillator
    6 - 12 GHz                                                                                                                                        Preliminary - Rev. V3P

    Electrical Specifications: Top = 25°C, VCC = 5 V4, Z0 = 50 Ω


                   Output Power                                            RF Port, 6 - 12 GHz                                      dBm               —               1        —

                                                                RF Port, 10 kHz Offset, 6 - 12 GHz                                                                    -65
                SSB Phase Noise                                                                                                   dBc/Hz              —                        —
                                                                RF Port, 100 kHz Offset, 6 - 12 GHz                                                                   -95

                     Harmonics                                                   RF Port, 2Fo                                        dBc              —               -15      —
                    Pulling
                                                                          RF Port, VSWR = 2:1                                   MHz pk-pk             —               5        —
             (Sensitivity to Match)
                   Pushing
                                                                           RF Port, 6 - 12 GHz                                     MHz/V              —               10       —
       (Sensitivity to Supply Voltage)




                                                                                                                                                                                         Preliminary Information
           Frequency Drift Rate
                                                                           RF Port, 6 - 12 GHz                                    MHz/ºC              —               1.0      —
        (Sensitivity to Temperature)

              Output Return Loss                                           RF Port, 6 - 12 GHz                                        dB              —               6        —

                  Supply Current                                                        ICC                                          mA               —               58       —

                   Tune Voltage                                                       VTUNE                                            V               0              —        23

           Tuning Current Leakage                                                VTUNE = 23 V                                         µA              —               5        —

    4. VCO can operate over the 4.75 V to 5.25 V supply voltage range.


    Absolute Maximum Ratings5,6,7                                                                      Handling Procedures
                  Parameter                           Absolute Maximum                                 Please observe the following precautions to avoid
                                                                                                       damage:
                        VCC                                     +5.5 V

                      VTUNE                                      25 V                                  Static Sensitivity
                                                                                                       These electronic devices are sensitive to
           Storage Temperature                           -55ºC to +150ºC                               electrostatic discharge (ESD) and can be damaged
         Operating Temperature                            -40ºC to +85ºC                               by static electricity. Proper ESD control techniques
                                                                                                       should be used.
          Junction Temperature8                                +135ºC

    5. Exceeding any one or combination of these limits may cause
       permanent damage to this device.
    6. MACOM does not recommend sustained operation near these
       survivability limits.
    7. Operating at nominal conditions with TJ ≤ +135°C will ensure
       MTBF > TBD hours.
    8. Junction Temperature (TJ) = TC + Өjc * (V * I)
       Typical thermal resistance (Өjc) = 43° C/W.
          a) For TC = 25°C, TJ = 37°C @ 5 V, 58 mA
          b) For TC = 85°C, TJ = 97°C @ 5 V, 58 mA




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    MAOC-409000
    Broadband Voltage Controlled Oscillator
    6 - 12 GHz                                                                                                                                        Preliminary - Rev. V3P

    Typical Performance Curves: VCC = 5 V, TA = +25°C (unless otherwise indicated)
     Output Frequency vs. Tune Voltage                                                                 Output Frequency vs. Tune/Supply Voltage




                                                                                                                                                                                   Preliminary Information
     Output Power vs. Tune Voltage                                                                     Output Power vs. Tune/Supply Voltage




     Phase Noise vs. Tune Voltage                                                                      Phase Noise vs. Frequency Offset (VTUNE = 5 V)




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    MAOC-409000
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    6 - 12 GHz                                                                                                                                        Preliminary - Rev. V3P

     Sample Board Layout                                                                               Sample Board Schematic9




                                                                                                                                                                                   Preliminary Information
     PCB Land Pattern

                                                                                                      9. All N/C and GND pins should be connected to RF/DC ground.


                                                                                                       Parts List
                                                                                                           Component                                Description

                                                                                                                 PCB               PT-0009707 SMB, Rogers RO4350B

                                                                                                                  U1                               MAOC-409000

                                                                                                                  C1                    CAP, 100 pF, 0402 Case size

                                                                                                                  C2                     CAP, 10 µF, 0805 Case Size

                                                                                                                  C3                    CAP, 0.1 µF, 0402 Case Size

                                                                                                                  J1                                 DC Header

                                                                                                                  J2                           RF Connector, SMA

                                                                                                                  J3                 RF Connector, SMA HF, Johnson




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    MAOC-409000
    Broadband Voltage Controlled Oscillator
    6 - 12 GHz                                                                                                                                        Preliminary - Rev. V3P

    Pin Descriptions
            Pin No.                 Function                        Description                                         Equivalent Interface Schematic
                                                       No connect pins. These pins
           7, 19, 24                    N/C            should be connected to RF/
                                                               DC ground.


    1-3, 5, 6, 8-11, 13,                                 Ground pins. These pins
    14, 16-18, 20-23,                  GND              should be connected to RF/
             25                                                 DC ground.




                                                                                                                                                                                   Preliminary Information
                 4                     VTUNE               VCO tune voltage input




                                                         VCO RF output. Internally
                15                      RF
                                                              DC blocked.




                12                      VCC                  VCO supply voltage.




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    MAOC-409000
    Broadband Voltage Controlled Oscillator
    6 - 12 GHz                                                                                                                                        Preliminary - Rev. V3P
     Lead-Free 4 mm 24-Lead Package†




                                                                                                                                                                                   Preliminary Information
    † Reference Application Note S2083 for lead-free solder reflow recommendations.
       Meets JEDEC moisture sensitivity level 3 requirements.
       Plating is NiPdAu over Copper




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    MAOC-409000
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    6 - 12 GHz                                                                                                                                        Preliminary - Rev. V3P




                                                                                                                                                                                   Preliminary Information
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